






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. WR-22,772-02




IN RE ROBERT LEE SMITH, Relator




ON APPLICATION FOR A WRIT OF MANDAMUS
CAUSE NOS. 961276-A AND 966324-A
FROM HARRIS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O R D E R

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed applications for writs of
habeas corpus in the 184th District Court of Harris County, that more than 35 days have elapsed, and
that the applications have not yet been forwarded to this Court. It appears that the district court
entered orders designating issues in each case on September 12, 2012.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Respondent, the Judge of the 184th District Court of Harris County, shall file a response with
this Court by having the District Clerk submit the records on such habeas corpus applications.  In
the alternative, Respondent may resolve the issues set out in the orders designating issues and then
have the District Clerk submit the records on such applications.  In either case, Respondent’s answer
shall be submitted within 30 days of the date of this order.  This application for leave to file a writ
of mandamus will be held in abeyance until Respondent has submitted his response.
&nbsp;
Filed: June 5, 2013
Do not publish&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


